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Diamond Comics Distributors, Inc                                                                        Case No. 25-10308
AP Aging                                                                                                           Feb-25



    Consolidated
   Diamond Comic
                          CURRENT        1 TO 30        30 TO 60        61 TO 90          OVER 90             TOTAL
   Distributors, Inc



PRODUCT                      2,475,947    2,093,982       1,847,663                -                -          6,417,592
NON PRODUCT                     96,816      931,577         151,909                -                -          1,180,302
TAXES                              -            -               -                  -                -                -

TOTAL                        2,572,763    3,025,559       1,999,573                -                -          7,597,895
